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15
                                UNITED STATES DISTRICT COURT
16

17                           NORTHERN DISTRICT OF CALIFORNIA

18                                      OAKLAND DIVISION

19
      EPIC GAMES, INC.,                              Case No. 4:20-CV-05640-YGR-TSH
20
                    Plaintiff, Counter-defendant,    DECLARATION OF YONATAN EVEN IN
21                                                   SUPPORT OF EPIC GAMES, INC.’S
                           v.                        OBJECTIONS TO SPECIAL MASTER
22
                                                     DETERMINATIONS ISSUED MAY 14,
      APPLE INC.,                                    2025, REGARDING APPLE’S WITHHELD
23
                                                     DOCUMENTS
24                  Defendant, Counterclaimant.

25                                                   Judge: Hon. Yvonne Gonzalez Rogers
26
27

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     DECLARATION OF YONATAN EVEN                               CASE NO. 4:20-CV-05640-YGR-TSH
      Case 4:20-cv-05640-YGR           Document 1588-1         Filed 05/20/25      Page 2 of 3




1           I, Yonatan Even, declare as follows:

2           1.      I am a Partner at Cravath, Swaine & Moore LLP, counsel to Epic Games, Inc.

3    (“Epic”) in the above-captioned actions. I am admitted to appear before this Court pro hac vice.

4           2.      I submit this declaration in support of Epic’s Objections to Special Master

5    Determinations Issued May 14, 2025, Regarding Apple’s Withheld Documents (“Objections”),

6    dated May 20, 2025.

7           3.      I have personal, first-hand knowledge of the facts set forth in this Declaration. If

8    called as a witness, I could and would competently testify to these facts under oath.

9           4.      Attached hereto as Exhibit A is a true and correct copy of the privilege log entries

10   provided by Apple for the documents mentioned in the Objections.

11          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

12   and correct and that I executed this declaration on May 20, 2025, in New York, New York.

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14                                                         /s/ Yonatan Even
                                                           Yonatan Even
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     DECLARATION OF YONATAN EVEN                      1           CASE NO. 4:20-CV-05640-YGR-TSH
      Case 4:20-cv-05640-YGR          Document 1588-1         Filed 05/20/25      Page 3 of 3




1                                      E-FILING ATTESTATION

2                   I, Yonatan Even, am the ECF User whose ID and password are being used to file

3    this Declaration of Yonatan Even in Support of Epic’s Objections to Special Master

4    Determinations Issued May 14, 2025, Regarding Apple’s Withheld Documents, dated May 20,

5    2025. In compliance with Civil Local Rule 5-1(i), I hereby attest that concurrence in the filing of

6    this document has been obtained from the signatory.

7

8                                                          /s/ Yonatan Even
                                                           Yonatan Even
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     DECLARATION OF YONATAN EVEN                     2           CASE NO. 4:20-CV-05640-YGR-TSH
